Case 1:18-cr-00204-NGG-VMS Document 14-1 Filed 04/19/18 Page 1 of 1 PageID #: 66


                         C8 18                               204
                                                                                              FllEf
                                     INFORMATION SHEET                                    SL ER!:

                             UNITED STATES DISTRICT COURT                    2818 APR 19 PM M 19
                             EASTERN DISTRICT OF NEW YORK
                                                                             RrF-_FiSTR!C ■ ■ GC-URT
                                                                              f" iii   i h'    ^.-T n C'"T T'-- I   T



  1.     Title of Case; United States v. Keith Raniere and Allison Mack

 2.      Related Magistrate Docket Number(s): 18-M-I32

 3.      Arrest Date: 3/26/2018                                         GARAUFIS, J.

 4.      Nature of offense(s): |X| Felony                             SCANLON. MJ.
                                 □    Misdemeanor


 5.      Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local
         E.D.N.Y. Division of Business Rules):

 6.      Projected Length of Trial:   Less than 6 weeks         |X|
                                      More than 6 weeks         □

 7.      County in which crime was allegedly committed: Kings, Oueens
         (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

 8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
         pending or initiated before March 10, 2012.^                 DYes IX] No

 9.      Has this indictment/information been ordered sealed?         |X| Yes □ No

 10.     Have arrest warrants been ordered?                           Kl Yes □ No


 11.     Is there a capital count included in the indictment?         □Yes |X| No


                                                     RICHARD P. DONOGHUE
                                                     UNITED STATES ATTORNEY



                                                     Moira Kim Penza / Tanya Hajjar
                                                     Assistant U.S. Attorneys
                                                     (718) 254-6454/6109


         Judge Brodie will not accept cases that were initiated before March 10, 2012.



 Rev. 10/04/12
